AO 257 (Rev. 6/78)         Case 4:25-cr-00052-YGR                  Document 1               Filed 02/25/25            Page 1 of 5

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION             INDICTMENT                         Name of District Court, and/or Judge/Magistrate Location
                                                          SUPERSEDING                          NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                             OAKLAND DIVISION
 27 U.S.C. § 205(c) - Commercial Bribery                           Petty

                                                                   Minor              DEFENDANT - U.S
                                                                   Misde-
                                                                                                                                        
                                                                   meanor                BRYAN BARNES                                    Feb 25 2025
                                                                   Felony                                                               -ARK""USBY
                                                                                         DISTRICT COURT NUMBER                      
PENALTY:      1 Year Imprisonment;
                                                                                                                                    
              1 Year Supervised Release;                                                 4:25-cr-00052-MAG                                 
              $100,000 Fine; and
              $25 Special Assessment

                                                                                                                   DEFENDANT
                              PROCEEDING                                                   IS NOT IN CUSTODY
                                                                                             Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                          1)       If not detained give date any prior
                 SoEun Pipal, IRS-Criminal Investigation
                                                                                             summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                  2)       Is a Fugitive
       give name of court
                                                                                    3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                           IS IN CUSTODY
                                                                                    4)       On this charge
       this is a reprosecution of

                                                                                                                              }
       charges previously dismissed                                                 5)       On another conviction
       which were dismissed on motion                          SHOW                                                                     Federal         State


                                                     }
       of:                                                   DOCKET NO.
                                                                                    6)       Awaiting trial on other charges
            U.S. ATTORNEY                  DEFENSE
                                                                                              If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                       }
                                                                                                             Yes            If "Yes"
       pending case involving this same                                                  Has detainer
                                                                                                                            give date
       defendant                                          MAGISTRATE                     been filed?         No             filed


                                                     }
                                                           CASE NO.
                                                                                         DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                             ARREST
       defendant were recorded under                                                     Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form            Martha A. Boersch, Acting                 TO U.S. CUSTODY
                                 U.S. Attorney        Other U.S. Agency

Name of Assistant U.S.                                                                        This report amends AO 257 previously submitted
Attorney (if assigned)                       Colin Sampson
                                                     ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*            WARRANT           Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                              * Where defendant previously apprehended on complaint, no new summons or
                                                                            warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                            Date/Time:                                 Before Judge:

        Comments:
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 1 MARTHA A. BOERSCH (CABN 126569)
   Attorney for the United States                                              
 2 Acting Under Authority Conferred by 28 U.S.C. § 515

 3                                                                              Feb 25 2025

 4                                                                         -ARK""USBY
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 6                                                                            

 7
                                      UNITED STATES DISTRICT COURT
 8
                                    NORTHERN DISTRICT OF CALIFORNIA
 9
                                              OAKLAND DIVISION
10

11 UNITED STATES OF AMERICA,                          )   Case No. 4:25-cr-00052-MAG
                                                      )
12           Plaintiff,                               )   VIOLATION: 27 U.S.C. § 205(c) – Commercial
        v.                                            )   Bribery
13                                                    )
     BRYAN BARNES,                                    )   OAKLAND VENUE
14
                                                      )
15           Defendant.                               )
                                                      )
16                                                    )
                                                      )
17
                                              INFORMATION
18

19 The Attorney for the United States charges:

20           At all times relevant to this Information, unless otherwise indicated, and with all dates being

21 approximate and all date ranges both approximate and inclusive:

22                        The Federal Alcohol Administration Act (“FAA”) and Regulations

23           1.      After the ratification of the Twenty-First Amendment to the United States Constitution in

24 1933, the retail sale and consumption of alcoholic beverages became legal again in the United States.

25 The Twenty-First Amendment authorized states to institute laws to control the production, distribution,

26 and sale of alcoholic beverages within their borders. Many states, including California, opted for a so-

27 called “three-tier system” consisting of: alcohol beverage suppliers or importers (“suppliers”);

28 distributors; and retailers.

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 1          2.     Congress passed the FAA in 1935. The Alcohol and Tobacco Tax and Trade Bureau

 2 (“TTB”) was created in January of 2003, when the Bureau of Alcohol, Tobacco and Firearms was

 3 reorganized under the Homeland Security Act of 2002. TTB is a bureau of the United States Department

 4 of the Treasury which, among other things, regulates alcohol beverage Industry Members and collects

 5 federal excise taxes.

 6          3.     The State of California’s Alcoholic Beverage Control (“ABC”) issues licenses to alcohol

 7 beverage suppliers, importers, warehousers, and wholesalers of alcohol beverages, among other

 8 categories.

 9          4.     TTB issues permits to alcohol beverage wholesalers, importers, and suppliers, among

10 other industry members.

11          5.     A subset of regulations administered by TTB, known as the “trade practice regulations,”

12 prohibit members of the alcohol beverage industry from, among other things, engaging in certain

13 marketing practices which threaten the independence of retailers and/or unfairly advantages that industry

14 member over their competitors. These trade practice regulations prohibit activities that, directly or

15 indirectly, effect control over a trade buyer (a wholesaler or retailer of alcohol beverages) by causing

16 them to purchase less of a competing product or puts the independence of a retailer at risk, including

17 “commercial bribery,” a practice involving an industry member offering a bribe to a “trade buyer” (such

18 as a wholesaler or retailer) to sell or promote a certain product to the detriment and exclusion of

19 competing products.

20          6.     Under the trade practice regulations administered by TTB, alcohol beverage distributors

21 and alcohol beverage retailers are considered “trade buyers.”

22                                          Introductory Allegations

23          7.     DISTRIBUTOR-1 was a large national distributor and wholesaler of alcohol beverages
24 for on-premises consumption, such as restaurants and bars, and off-premises consumption, such as

25 grocery or liquor stores. At all times relevant to this Information, DISTRIBUTOR-1 was licensed by the

26 State of California as an importer of beer, wine, and distilled spirits, and a wholesaler of the same.

27 DISTRIBUTOR-1 also possessed one or more valid wholesaler permits from TTB, among other

28

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 1 permits. DISTRIBUTOR-1 maintained several offices in California, including in the Northern District

 2 of California. For purposes of the FAA and its Regulations, DISTRIBUTOR-1 is a trade buyer.

 3          8.     BRYAN BARNES was a sales executive employed by an alcohol beverage supplier

 4 identified as SUPPLIER-1. DISTRIBUTOR-1 distributed SUPPLIER-1’s alcohol beverage brands in

 5 California. BARNES’ responsibilities included meeting with employees of DISTRIBUTOR-1 and

 6 employees of alcohol beverage retailers, including a large national grocery chain identified as

 7 RETAILER-1.

 8          9.     INDIVIDUAL-1 was a resident of California. From March 2015 until approximately

 9 June 2024, INDIVIDUAL-1 was an alcohol beverage buyer for more than 100 Southern California

10 stores of RETAILER-1. For purposes of the FAA and its Regulations, RETAILER-1 is an alcohol

11 beverage retailer.

12          10.    RETAILER-1’s policies prohibited employees from making decisions where their

13 personal financial interests, among other things, created a conflict of interest with the company.

14 RETAILER-1 required supervisory approval of an employee’s receipt of gifts and receipt of other

15 valuable items or experiences from outside entities doing business with RETAILER -1. RETAILER-1’s

16 employee handbook required employees to report company policy violations to the company.

17          11.    INDIVIDUAL-2 was an employee of DISTRIBUTOR-1 based in Southern California.

18 From approximately 2020 onward, INDIVIDUAL-2 was DISTRIBUTOR-1’s Vice President of its

19 Chains Division, responsible for sales to large chain retailers, including RETAILER-1. One of

20 INDIVIDUAL-2’s responsibilities was to act as a point of contact and liaison with alcohol beverage

21 buyers from RETAILER -1, including INDIVIDUAL-1 and others.

22          12.    VENDOR-2 was a company registered in California since on or about December 18,

23 2017. VENDOR-2 provided services as an approved vendor of DISTRIBUTOR-1. VENDOR-2 billed

24 DISTRIBUTOR-1, and later SUPPLIER-1. In many instances, invoices issued by VENDOR-2 to

25 DISTRIBUTOR-1 required approval of the invoice from the alcohol beverage supplier prior to approval

26 for payment. VENDOR-2 typically charged a 10% fee for its services, which included purchases of

27 prepaid gift cards, events and retreats, and holding “travel funds” earmarked for the personal use, among

28 other things, of employees of DISTRUBUTOR-1 and SUPPLIER-1.

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 1 COUNT ONE: (27 U.S.C. § 205(c) – Commercial Bribery)

 2         13.     Paragraphs 1 through 12 above are incorporated and realleged as if fully set forth here.

 3         14.     From at least on or about July 1, 2018, until at least on or about May 1, 2023, in the

 4 Northern District of California, and elsewhere, the defendant,

 5
                                              BRYAN BARNES,
 6

 7 a resident of Hermosa Beach, California, did willfully and knowingly make and cause an inducement to

 8 a trade buyer through bribes affecting interstate commerce, specifically, by providing on behalf of

 9 SUPPLIER-1, directly and through employees of DISTRIBUTOR-1, including INDIVIDUAL-2,

10 thousands of dollars prepaid gift cards procured by VENDOR-2 to an alcohol beverage retailer,

11 specifically INDIVIDUAL-1, thereby placing RETAILER-1’s independence at risk and causing

12 exclusion of SUPPLIER-1’s competitors’ products.

13         All in violation of Title 27, United States Code, Section 205(c).

14

15
                                                       MARTHA A. BOERSCH
16                                                     Attorney for the United States
17

18 Dated: February 25, 2025.                           /s/ Colin Sampson
                                                       COLIN C. SAMPSON
19                                                     ALEXANDRA SHEPARD
                                                       Assistant United States Attorneys
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     INFORMATION                                   4
